                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                         Chapter 7
BRANDON HEITMANN,                                        Case No. 24-41956-MAR
                                                         Hon. Mark A. Randon
                 Debtor.
                                            /
MOHAMED SAAD,

         Plaintiff,

v.                                                       Adv. Pro. No. 24-04375-MAR
                                                         Hon. Mark A. Randon
BRANDON HEITMANN,

         Defendant.

_____________________________________/

    NOTICE OF WITHDRAWAL OF SUBPOENA TO PRODUCE DOCUMENTS,
 INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A
           BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                         (DOCKET NO. 32)

         PLEASE TAKE NOTICE that Plaintiff, Mohamed Saad, by and through his attorneys,

OSIPOV BIGELMAN, P.C., hereby withdraws the Subpoena to Produce Documents, Information,

or Objects or to Permit Inspection of Premises in a Bankruptcy Case (Or Adversary Proceeding)

(Document No. 32) filed on April 15, 2025

Dated: April 15, 2025                       Respectfully Submitted,
                                            OSIPOV BIGELMAN, P.C.

                                            /s/ Jeffrey H. Bigelman
                                            JEFFREY H. BIGELMAN (P61755)
                                            Attorneys for Plaintiff, Mohamed Saad
                                            20700 Civic Center Drive, Ste. 420
                                            Southfield, MI 48076
                                            Phone: (248) 663-1800 Fax: (248) 663-1801
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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
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In re:
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v.                                                          Adv. Pro. No. 24-04375-MAR
                                                            Hon. Mark A. Randon
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_____________________________________/

                                CERTIFICATE OF SERVICE

        I hereby certify that on April 15, 2025, the Notice of Withdrawal of the Subpoena to
Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Bankruptcy
Case (Or Adversary Proceeding) was filed and served with the Clerk of the Court using the ECF
system which will send notification of such filing to all parties registered on the ECF System for
this case, including:

      •   Robert N. Bassel bbassel@gmail.com,
          robertbassel@hotmail.com;ecfbassel@gmail.com
      •   Jeffrey H. Bigelman jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com
      •   Anthony James Miller am@osbig.com
      •   Yuliy Osipov yotc_ecf@yahoo.com, yo_ecf@osbig.com;tc_ecf@osbig.com
      •   Tyler Phillips tphillips@kotzsangster.com,
          lpfund@kotzsangster.com;mdelorme@kotzsangster.com;aclark@kotzsangster.com

And via first class U.S. Mail upon:

          LSIS, LLC dba Skyview Detroit
          Taylor Calero, Resident Agent
          2943 Sleeth Rd
          Commerce Twp, MI 48382




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Dated: April 15, 2025                  Respectfully Submitted,

                                       OSIPOV BIGELMAN, P.C.

                                       /s/ Jeffrey H. Bigelman
                                       JEFFREY H. BIGELMAN (P61755)
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